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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in compliance with D.N.J. LBR 9004-1(b)

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 Counsel to Arnold & Itkin LLP


 In re:                                                                     Chapter 11

 LTL MANAGEMENT LLC,                                                        Case No. 23-12825 (MBK)

                                     Debtor. 1                              Re: Docket No. 890


                 JOINDER OF ARNOLD & ITKIN LLP TO
 OBJECTION TO PROFFERED EXPERT TESTIMONY OF CHARLES MULLIN, PH.D

          Arnold & Itkin LLP (“Arnold & Itkin”), on behalf of certain talc personal injury

 claimants represented by Arnold & Itkin, hereby joins the Objection to Proffered Expert

 Testimony of Charles Mullin, PH.D (the “Objection”) 2 filed by Paul Crouch, Individually and as

 Executor and as Executor Ad Prosequendum of the Estate of Cynthia Lorraine Crouch.




 1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.

 2 Capitalized terms not otherwise defined herein shall have their meaning as set forth in the Objection.




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                                                    Joinder

                  1.          For the reasons set forth in the Objection, Arnold & Itkin respectfully

 requests that the Court sustain the Objection to the admission of Mr. Mullin’s report and any

 proffer of Mr. Mullin’s testimony by the Debtor.

                  2.           Arnold & Itkin reserves all rights to make any further arguments in

 support of this Joinder and the Objection at the hearing scheduled on this matter.

         WHEREFORE, for the reasons set forth in the Objection, Arnold & Itkin respectfully

 requests that the Court: (i) sustain the Objection; and (ii) grant such other and further relief as the

 Court deems appropriate.

 Dated: June 27, 2023                            PACHULSKI STANG ZIEHL & JONES LLP

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